Case 1:18-cv-01262-LMB-TCB Document 89-2 Filed 05/15/19 Page 1 of 3 PageID# 1077

                                                                                    EXHIBIT E




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

                                             )
  SECURITIES AND EXCHANGE                    )
  COMMISSION,                                )
                                             )
                       Plaintiff,            )
                                             )
  v.                                         )      Civil No. 1:18-cv-01262
                                             )
  TODD ELLIOTT HITT, KIDDAR                  )
  CAPITAL LLC, and KIDDAR GROUP              )
  HOLDINGS, INC.,                            )
                                             )
                       Defendants,           )
                                             )
  and                                        )
                                             )
  KIDDAR HERNDON STATION LLC,                )
  KIDDAR HOMEBUILDING FUND I,                )
  LLC, MELBOURNE RETREAT LLC,                )
  KIDDAR MASS AVE LLC, KIDDAR                )
  RIDGEVIEW LLC, ESA EMERSON                 )
  LLC, ESA HIGHWOOD LLC, and                 )
  KIDDAR AQ LLC a/k/a KIDDAR                 )
  AQUICORE LLC,                              )
                                             )
                       Relief Defendants.    )
                                             )

              ORDER APPROVING SECOND INTERIM APPLICATION OF
             LECLAIRRYAN FOR ALLOWANCE OF COMPENSATION AND
            EXPENSE REIMBURSEMENT AS COUNSEL TO THE RECEIVER

         This matter came before the Court upon the Second Interim Application of LeClairRyan for

  Allowance of Compensation and Expense Reimbursement Incurred as Counsel to the Receiver (the

  “Application”) filed by LeClairRyan, a Professional Corporation (“LeClairRyan”), counsel for

  Bruce H. Matson (the “Receiver”) of the estates of Kiddar Herndon Station LLC, Kiddar Capital
Case 1:18-cv-01262-LMB-TCB Document 89-2 Filed 05/15/19 Page 2 of 3 PageID# 1078




  LLC, Kiddar Group Holdings, Inc., Kiddar Homebuilding Fund I LLC, Melbourne Retreat LLC,

  Kiddar Mass Ave LLC, Kiddar Ridgeview LLC, ESA Emerson LLC, ESA Highwood LLC, and

  Kiddar AQ LLC also known as Kiddar Aquicore LLC (the “Receivership Defendants”). The Court,

  having reviewed the Application and having heard the statements of counsel in support of the relief

  requested therein at a hearing on the Application (the “Hearing”) and the Court finding that: (i)

  jurisdiction is proper pursuant to 28 U.S.C. § 959, (ii) notice of the Application and Hearing was

  proper and sufficient; (iii) there are no objections to the Application; and (iv) payment of the

  requested compensation and reimbursement of expenses as allowed herein is reasonable; it is hereby

         ORDERED as follows:

         1.       The Application is approved.

         2.       Capitalized terms not otherwise defined herein shall have the meanings given to them

  in the Application.

         3.       Compensation in the amount of $142,489.12 for professional services rendered to the

  Receiver and reimbursement of $2,693.79 for out-of-pocket expenses incurred for the Receiver’s

  benefit from and including January 1, 2019, through and including March 31, 2019, is hereby

  allowed.

         4.       The Receiver is authorized and directed to pay eighty percent (80%) of professional

  fees ($113,991.30) and expenses ($2,155.03) awarded herein.

         5.       Upon entry, the Clerk shall serve a copy of this Order on those parties on the attached

  Service List.




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Case 1:18-cv-01262-LMB-TCB Document 89-2 Filed 05/15/19 Page 3 of 3 PageID# 1079




  IT IS SO ORDERED, this ___ day of ___________, 2019.




                                          UNITED STATES DISTRICT JUDGE


                                     SERVICE LIST

                                   Bruce H. Matson
                                   LeClairRyan PLLC
                                   919 East Main Street, 24th Floor
                                   Richmond, VA 23219
                                          Receiver

                                   W. Michael Holm
                                   Christopher L. Perkins
                                   LeClairRyan PLLC
                                   919 East Main Street, 24th Floor
                                   Richmond, VA 23219
                                          Counsel to Receiver




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